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Detroit-Wayne Joint Building Authority earns prestigious BOMA
360 Designation

Editor
May 11, 2018 [+ [yl[=l[s)

The Detroit-Wayne Joint Building Authority (Authority), owner and manager of the Coleman A. Young Municipal Center has been designated a BOMA
360 Performance Building by the Building Owners and Managers Association (BOMA) International. The BOMA 360 Performance Program® validates
and recognizes commercial properties that demonstrate best practices in building operations and management. “We are committed to best-in-class
services and a well-managed building. The BOMA 360 Performance Program has given us a meaningful way to demonstrate our commitment to
excellence and we are thrilled to receive this important recognition,” states Sharon Madison, Chairperson, Detroit-Wayne Joint Building Authority.
“We are proud to designate the Detroit-Wayne Joint Building Authority as a BOMA 360 Performance Building in recognition of the high standards the
management team has achieved in every aspect of building operations and management,” said BOMA International Chair John G. Oliver, BOMA
Fellow, managing principal for Oliver & Company. “By achieving the BOMA 360 designation, the Authority has demonstrated to the tenants and the
community that the Coleman A. Young property is being managed to the highest standards of excellence.”

The BOMA 360 Performance Program is a groundbreaking building designation program that evaluates properties in six major areas: building
operations and management; life safety/security/risk management; training and education of building personnel; energy management;
environmental/sustainability performance; and tenant relations and community involvement. The BOMA 360 Performance Program takes a holistic
approach to evaluating a building’s operations and management and benchmarks a building’s performance against industry standards. For more
information on the BOMA 360 Performance designation, visit www.boma.org/360.

About the Detroit-Wayne Joint Building Authority

The Detroit-Wayne Joint Building Authority (Authority) was created in 1948 for the purpose of developing the 745,000-square foot Coleman A. Young
Municipal Center (previously known as the City-County Building). Constructed in 1955 at a cost of $26,000,000. Major tenants are the City of
Detroit's Executive and Legislative Branches, the Office of the Clerk for the City of Detroit, the Wayne County Clerk's offices, and the Wayne County
Probate Court and the 3 Judicial Circuit Courts.

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this principle in daily operations and capital spending has enabled the Authority to promote sustainability and to reduce its annual operating expenses
from $15 million to $8.1 million (approximately 45% deduction) including a 55% reduction in utility expenses from $3.3 million to $1.5 million.

These operational savings have also enabled the Authority to move forward with the implementation of many long overdue capital improvements.
The projects include the renovation of the 13" floor auditorium (increasing its capacity from 477 seats to 553 seats and the restoration of the “Spirit of
Detroit” Statue. For more information about the Detroit-Wayne Joint Building Authority visit www.caymc.com

About BOMA International

The Building Owners and Managers Association (BOMA) International is a federation of 91 BOMA U.S. associations and 17 international affiliates.
Founded in 1907, BOMA represents the owners and managers of all commercial property types including 10.4 billion square feet of U.S. office space
that supports 1.8 million jobs and contributes $226.7 billion to the U.S. GDP. Its mission is to advance a vibrant commercial real estate industry
through advocacy, influence and knowledge. Learn more at www.boma.org.

Editor

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